   Case 2:20-cv-00109-LGW-BWC Document 2 Filed 10/19/20 Page 1 of 2



                                                                                               FILED
                                                                                    John E. Triplett, Acting Clerk
                                                                                     United States District Court


                      IN THE UNITED STATES DISTRICT COURT                       By CAsbell at 10:49 am, Oct 19, 2020

                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 SUSAN ANDERSON,

                Movant,                                    CIVIL ACTION NO.: 2:20-cv-109

        v.

 UNITED STATES OF AMERICA,                                 (Case Nos.: 2:17-cr-20; 2:18-cr-30)


                Respondent.


                                           ORDER

       Movant Susan Anderson (“Anderson”), who is represented by counsel, filed this 28

U.S.C. § 2255 Motion on October 14, 2020, which the Court has reviewed. Anderson attacks the

convictions and sentences imposed in this Court in Case Numbers 2:17-cr-20 and 2:18-cr-30.

Pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings, the Court ORDERS the

United States Attorney to file an answer or motion to dismiss within 30 days stating what records

and documents need to be produced to fully respond to the motion. The Government shall also

include in this response its position regarding the need for expansion of the record authorized by

Rule 7, evidentiary hearing authorized by Rule 8, and any additional discovery necessary

authorized by Rule 6 of the Rules Governing Section 2255 Proceedings.

       The Court DIRECTS the Clerk of Court to forward a copy of this Order and a copy of

Anderson’s Motion for relief to the Savannah Office of the United States Attorney for the
  Case 2:20-cv-00109-LGW-BWC Document 2 Filed 10/19/20 Page 2 of 2



Southern District of Georgia.

       SO ORDERED, this 19th day of October, 2020.




                                 _____________________________________
                                 BENJAMIN W. CHEESBRO
                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA




                                          2
